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 1                                                 THE HONORABLE JAMAL WHITEHEAD
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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
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     ATM SHAFIQUL KHALID; XENCARE
10
     SOFTWARE, INC.,
11

12                                   Plaintiffs,             Case No. 2:24-cv-449

13                  v.                                       STIPULATED MOTION FOR
14                                                           TEMPORARY STAY PENDING
     MICROSOFT CORPORATION, a                                SETTLEMENT
15   Washington Corporation,
16                                                           NOTED ON MOTION CALENDAR:
                                    Defendant.               MAY 24, 2024
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            Plaintiffs ATM Shafiqul Khalid and Xencare Software, Inc. (together “Khalid”) and
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     Defendant Microsoft Corporation (“Microsoft”), through their undersigned counsel, respectfully
22
     move this Court to stay all proceedings in the above-captioned case (as well as in the Related
23
     Case of Microsoft Corp. v. Khalid et al., 2:24-cv-448) for 30 days. In support of this motion, the
24
     Parties state as follows:
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        1. The Parties have reached a settlement in principle that will resolve all claims in this
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      STIPULATED MOTION TO STAY                          1            BRADLEY BERNSTEIN SANDS LLP
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 1          litigation and in the Related Case.

 2      2. The Parties are currently in the process of drafting and finalizing a formal settlement

 3          agreement, which will include the necessary terms and conditions to fully and finally

 4          resolve this matter as well as the Related Case.

 5      3. The Parties require additional time to finalize the settlement agreement and to execute the

 6          necessary documents.

 7      4. Staying the litigation at this juncture will conserve judicial resources and avoid

 8          unnecessary expenditures by the Parties while they complete the settlement process.

 9      5. The Parties anticipate that they will be able to file a stipulation of dismissal with prejudice

10          within 30 days.

11      6. No party will be prejudiced by the requested stay, and the stay will promote judicial

12          economy and efficiency.

13          WHEREFORE, the Parties respectfully request that the Court enter an order staying all

14   proceedings in this case and the Related Case, including all deadlines and hearings, for a period

15   of 30 days to allow the Parties to finalize and execute the settlement agreement and to file a

16   stipulation of dismissal with prejudice.

17          IT IS SO STIPULATED, through counsel of record.

18    Dated: May 24, 2024
                                                                  s/ Heidi B. Bradley
19                                                            Heidi B. Bradley, WSBA No. 35759
                                                              BRADLEY BERNSTEIN SANDS LLP
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20                                             Khalid and Xencare Software, Inc.

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 1         PURSUANT TO STIPULATION, IT IS SO ORDERED.

 2

 3   Dated: ___________

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                                       __________________________________
 5                                     The Honorable Jamal Whitehead
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